                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                             DOCKET NO. 3:97-cr-184-12-1FDW


 UNITED STATES OF AMERICA,                       )
                                                 )
                  v                              )
                                                 )
                                                 )                   ORDER
 HOMER ORLANDO HORTON,                           )
                                                 )
                Defendant.                       )


       THIS MATTER is before the Court on Defendant’s pro se motion (Doc # 635 ) for “further

reduction” of his sentence pursuant to 18 U.S.C. § 3582(c)(2) and the new crack cocaine sentencing

guidelines. Defendant’s motion is DENIED for reasons stated in the two Presentence Investigation

Reports and prior Court’s Order (Doc.# 688, 689 and 700).

       IT IS SO ORDERED.

                                                Signed: October 13, 2009




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